          Exhibit 25




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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                        Civil Action No. 1:14-CV-954


STUDENTS FOR FAIR ADMISSIONS,
INC.


                                   Plaintiff,

v.

THE UNIVERSITY OF NORTH
CAROLINA AT CHAPEL HILL, et al.,

                                Defendants.


                                      ANSWER

             Defendants the University of North Carolina (“UNC System”), UNC

System President Thomas W. Ross, the UNC System Board of Governors and its

individual members John C. Fennebresque, W. Louis Bissette, Jr., Joan Templeton Perry,

Roger Aiken, Hannah D. Gage, Ann B. Goodnight, H. Frank Frainger, Peter D. Hans,

Thomas J. Harrelson, Henry W. Hinton, James L. Holmes, Jr., Rodney E. Hood, W.

Marty Kotis III, G. Leroy Lail, Scott Lampe, Steven B. Long, Joan G. MacNeill, Mary

Ann Maxwell, W. Edwin McMahan, W.G. Champion Mitchell, Hari H. Math, Anna

Spangler Nelson, Alex Parker, R. Doyle Parrish, Therence O. Pickett, David M. Powers,

Robert S. Rippy, Harry Leo Smith, Jr., J. Craig Souza, George A. Sywassink, Richard F.

Taylor, Raiford Trask III, Phillip D. Walker, Laura I. Wiley (collectively, “UNC System




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        54.   These statistics show that UNC-Chapel Hill does not use race simply as a

“plus” factor. For African-American applicants with an academic index above 3.1, race

is a dispositive factor essentially guaranteeing admission. For Asian-American

applicants with an academic index below 2.6, on the other hand, race is a dispositive

factor virtually guaranteeing rejection.


        ANSWER TO PARAGRAPH 54: Defendants deny the allegations in Paragraph

54.


        55.   Table B shows the average high-school GPA and SAT scores by racial

category for students admitted to UNC-Chapel Hill in 2012.


Table B
Average GPA and SAT for All Admitted Students (2012)

                           Admitted              GPA              SAT

American Indian or         103                   4.38             1300
Alaska Native

African American           618                   4.32             1229

Asian/Asian American       1018                  4.63             1431

Hispanic                   415                   4.51             1319

Pacific Islander           6                     4.51             1393

White                      3616                  4.56             1360

Not Reporting              123                   4.46             1344



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        ANSWER TO PARAGRAPH 55: Defendants admit the allegations in Paragraph

55.


        56.   These statistics confirm that UNC-Chapel Hill continues to use race as far

more than a “plus” factor in admissions. In particular, the statistics show a massive

academic achievement gap between non-preferred admitted students and

underrepresented minorities. The average high-school GPA and SAT scores for non-

preferred students (Asian American + white) are 4.57 and 1375. The average high school

GPA and SAT scores for underrepresented minorities (African American + Hispanic +

American Indian/Alaska Native) are 4.40 and 1269.


        ANSWER TO PARAGRAPH 56: Defendants deny the allegations in Paragraph

56.


        57.   The academic achievement differences are even greater between specific

racial groups. For example, there is over a 200-point SAT gap and a 0.31 high-school

GPA gap between Asian Americans and African Americans admitted to UNC-Chapel

Hill.


        ANSWER TO PARAGRAPH 57: Defendants deny the allegations in Paragraph

57.


        58.   UNC-Chapel Hill’s admissions decisions cannot be attributed to

underrepresented minorities having better non-racial, non-academic qualifications than


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